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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF ARKANSAS
                                         FORT SMITH DIVISION


                  UNITED STATES OF AMERICA                                      PLAINTIFF


                       V.             CRIMINAL NO. 02-20052-001


                  JIMMY DON RELEFORD                                            DEFENDANT


                                                   ORDER

                       Pursuant to the Court’s authority under 18 U.S.C. §

                  3582(c)(2) and Rule 43(b)(4) of the Federal Rules of Criminal

                  Procedure, the Court advises the parties that this defendant

                  may qualify for a sentence reduction due to a recent amendment

                  to the Crack Cocaine Offense Level Guidelines.

                       The U.S. Sentencing Commission has reduced guideline

                  offense levels for cocaine base cases, and has made the

                  reductions retroactive, effective March 3, 2008, to eligible,

                  previously-sentenced defendants pursuant to the terms set

                  forth in U.S.S.G. § 1B1.10.

                       If Defendant desires legal representation, he may request

                  the Court to appoint an attorney. The request will be granted

                  if the Court determines that an attorney is necessary to

                  protect the interest of the defendant.          Otherwise, Defendant

                  may present a pro se motion for reduction of sentence to the

                  Court.    Once a motion is filed, the U.S. Attorney’s Office is

                  directed to file a response stating its position.




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                       Should the U.S. Attorney’s Office have no objection to

                  such a reduction, the defendant will be advised and the matter

                  will be referred for the entry of an agreed order.

                       All other terms and provisions of the original judgment

                  will remain in effect.

                       IT IS SO ORDERED this 11TH day of March, 2008.



                                                     /S/ Robert T. Dawson
                                                     Honorable Robert T. Dawson
                                                     United States District Judge




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